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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

RALPH S. JANVEY, et al.,                   §
                                           §
       Plaintiffs,                         §
                                           §
v.                                         §      Civil Action No. 3:10-CV-0527-N
                                           §
BEN BARNES, et al.,                        §
                                           §
       Defendants.                         §

                             DEFENDANTS’ TRIAL EXHIBIT LIST

        Defendants Ben Barnes (“Barnes”) and Ben Barnes Group, L.P. (“BBG”) submit the

following list of trial exhibits:
   Case 3:10-cv-00527-N-BQ Document 117 Filed 03/02/15                                                                 Page 2 of 14 PageID 2083


                                                                     Defendants' Exhibit List
Exhibit                          Document Description                                  Date                Bates Number              Offer   Obj   Date
  #                                                                                                                                                Admit
  1       Yolanda Suarez sends memo to Ben Barnes re: FAA Proving Flights for    December 4, 2002          BBG 001062
          Caribbean Sun and assistance needed
  2       Yolanda Suarez faxes Ben Barnes information re: Caribbean Sun Airlines February 3, 2005          BBG 003909 ‐ BBG 003912


  3       Email scheduling conference call between Yolanda Suarez, Ben Barnes,         February 4, 2005    Receiver 527‐00262652
          and Linda Daschle at Baker Donelson
  4       Appointment for Ben Barnes and Yolanda Suarez lunch                          February 23, 2005   BBG 002961

  5       Appointment for Ben Barnes, Allen Stanford, Yolanda Suarez meeting in        April 7, 2005       BBG 002962
          Miami
  6       Ben Barnes Aircraft bill for flight to Bahamas for meeting with Allen        April 8, 2005       BBG 002937
          Stanford and Yolanda Suarez
  7       Email correspondence regarding call with Winston & Strawn to discuss         April 28, 2005      BBG 002646 ‐ BBG 002647
          USVI tax
  8       Appointment for Ben Barnes Meeting with Hunton & Williams re                 May 5, 2005         BBG 02965
          Stanford
   9      Appointment for Stanford Conference call                                     May 9, 2005         BBG 002966

  10      Email correspondence between Richard Razook Jim Miller, Carlos               May 17, 2005        Receiver 527‐00262281 ‐
                                                                                                           Receiver 527‐00262283
          Loumiet, Yolanda Suarez, Mitch Delk, Jorie Roberts, Ben Barnes
          regarding meeting with Winston & Strawn about VI legislation

  11      Email from Mitch Delk to Yolanda Suarez sending a short summary of           May 17, 2005        BBG 002638
          the meeting with the Winston team.
  12      Appointment for Stanford Conference call                                     May 20, 2005        BBG 002969

  13      Email correspondence from Richard Razook to Jim Miller, Carlos               June 5, 2005        Receiver 527‐00262266
          Loumiet, Yolanda Suarez, Mitch Delk, Jorie Roberts, Ben Barnes
          circulating revised draft of the legislative proposals for Section 937.

  14      Allen Stanford emails Ben Barnes, Jorie Roberts, Jim Miller, Mitch Delk,     June 8, 2005        Receiver 527‐00262212
          and Yolanda Suarez to set up a conference call on June 9th to discuss
          USVI tax
  15      Appointment for Stanford Conference call                                     June 9, 2005        BBG 002970

  16      Email from Jim Miller to Ben Barnes and Yolanda Suarez regarding             June 16, 2005       Receiver 527‐00262268
          Senator Baucus
  17      Email confirming meeting with Winston & Strawn on June 17, 2005              June 15, 2005       Receiver 527‐00262649


  18      Appointment for Conference call between Ben Barnes, Allen Stanford,          June 23, 2005       Receiver 527‐00262213
          Carlos Loumiet, Jorie Roberts, Richard May, Jim Miller, Mitch Delk,
          Richard Razook, and Yolanda Suarez
  19      Email from Susan Martin to Julie Hodge regarding Stanford Company            June 23, 2005       Receiver 527‐00281189
                                                                                                           BBG 000041 ‐ BBG 000042
          Brochures

  20      Email from Patsy Thomasson to Bob Tyner sending link to Stanford             June 27, 2005       BBG 000625
          Financial website
  21      E‐mail correspondence between Susan Martin and Aymeric Martinoia             June 27, 2005       Receiver 527‐00281162 ‐
                                                                                                           Receiver 527‐00281167
          regarding Ben Barnes & Jim Davis travel itinerary from Memphis to
          Antigua.
  22      Ben Barnes Aircraft bill for flight from Memphis to Antigua and Antigua      June 28, 2005       BBG 002938 ‐ BBG 002939
          to DC

  23      Appointment for Ben Barnes meeting in DC with Stanford Research              June 30, 2008       BBG 002973
          Group
  24      AT&T receipt fro Conference call between Allen Stanford, Jim Miller,         July 1, 2005        Receiver 527‐00281151 ‐
                                                                                                           Receiver 527‐00281152
          Richard Razook, Mitch Delk, Wiedeman, Caperton, Ben Barnes, Pete
          Romero, Jim Davis, Yolanda Suarez
  25      Fax from Ben Barnes to Jim Davis sending information regarding the           July 1, 2005        BBG 003821 ‐ BBG 003822
          Giordani Beckett Tackett law firm in Austin
  26      Agenda for July 6, 2005 meeting                                              July 6, 2005        BBG 001006

  27      Richard Razook email to Allen Stanford, Ben Barnes, Carlos Loumiet,          July 7, 2005        Receiver 527‐00262277
          James Miller, Jorie Roberts, Mitch Delk, Richard May, and Yolanda
  28      Email from Richard Razook to Allen Stanford, Ben Barnes, Carlos              July 8, 2005        Receiver 527‐00262523 ‐
                                                                                                           Receiver 527‐00262535
          Loumiet, James Miller, Jorie Roberts, Mitch Delk, Richard May, Yolanda
          Suarez, et al circulating latest draft of proposed section 934 and related
  29      Email from Richard Razook to Allen Stanford, Ben Barnes, Mitch Delk et       July 14, 2005       Receiver 527‐00262377
          al regarding Treasury Regulation Comments on Section 937
  30      Email from Stanford Aviation to Julie Hodge regarding Senator Baucus         July 14, 2005       Receiver 527‐00281117 ‐
                                                                                                           Receiver 527‐00281118
          June trip
   Case 3:10-cv-00527-N-BQ Document 117 Filed 03/02/15                                                             Page 3 of 14 PageID 2084


Exhibit                         Document Description                               Date                 Bates Number                 Offer   Obj   Date
  #                                                                                                                                                Admit
  31      Email from Joanne Thornton to Jim Davis, Yolanda Suarez, Ben Barnes, July 14, 2005            Receiver 527‐00262191 ‐
                                                                                                        Receiver 527‐00262210
          Richard Razook, Kent Caperton et al sending Caribbean information
          materials
  32      Email from Richard Razook to Allen Stanford, Ben Barnes, Carlos           July 18, 2005       Receiver 527‐00262595 ‐
                                                                                                        Receiver 527‐00262596
          Loumiet, James Miller, Jim Davis, Jorie Roberts, Mitch Delk, Richard
          May, Yolanda Suarez, et al circulating key points from written submittals
          to the 937 Regulation
  33      Conference call between Richard Razook, Ben Barnes, Loumiet, Davis,       July 20, 2005       Receiver 527‐00264299
          Jim Miller, Jorie Roberts, Mitch Delk, Richard May, Yolanda Suarez, Pete
          Romero, David Baker, Edward Garlich, Joanne Thornton, Caperton, Patsy
          Thomasson; Scott Reed
  34      Email from Jim Miller to Ben Barnes and Mitch Delk regarding Senator      July 20, 2005       Receiver 527‐00262269
          Hatch
  35      Email from Richard Razook to Allen Stanford, Ben Barnes, Davis, Jorie     July 22, 2005       Receiver 527‐00262173 ‐
                                                                                                        Receiver 527‐00262181
          Roberts, Mitch Delk, Yolanda Suarez, Kent Caperton, Scott Reed et al
          regarding BNA Tax Reporting of IRS Hearing/937 Regs
  36      Richard Razook emails Allen Stanford, Ben Barnes, Mitch Delk, Yolanda July 26, 2005           Receiver 527‐00261583 ‐
                                                                                                        Receiver 527‐00261584
          Suarez, Kent Caperton, Scott Reed et al regarding meeting with
          Department of Interior, Insular Affairs
  37      Email exchange between Allen Stanford and Yolanda Suarez regarding        July 26, 2005       Receiver 527‐00281072
          Ben Barnes and immigration matter for King
  38      Email from Patsy Thomasson emails to Mitch Delk, Scott Reed, Kent         July 28, 2005       BBG 000585 ‐ BBG 000586
          Caperton, and Wyath Wiedeman regarding Stanford Financial and
          Caribbean‐Central American Action
  39      Email correspondence between David Baker at Stanford Washington           July 29, 2005       BBG 000579 ‐ BBG 000581
          Research Group, Allen Stanford, Ben Barnes, Jim Davis, Yolanda Suarez,
          et al regarding Current Cuba Picture
  40      Email from Richard Razook to Allen Stanford, Ben Barnes, Carlos           August 9, 2005      Receiver 527‐00262130 ‐
                                                                                                        Receiver 527‐00262131
          Loumiet, James Miller, Jim Davis, Yolanda Suarez regarding USVI pending

  41      Email correspondence between Ben Barnes and Yolanda Suarez            August 9, 2005          Receiver 527‐00281071
          regarding meeting with Allen Stanford and Frank Luntz
  42      Email correspondence between Jim Miller, Allen Stanford, Yolanda      August 18, 2005         Receiver 527‐00261828;
                                                                                                        Receiver 527‐00261892
          Suarez, Ben Barnes, Mitch Delk, Richard Razook, Carlos Loumiet
          regarding Our Legislative Game Plan
  43      Email correspondence between Ben Barnes and Jim Miller with copy to August 22, 2005           Receiver 527‐00261816
          Allen Stanford, Yolanda Suarez, et al regarding legislative game plan

  44      Appointment for Stanford Legislative Meeting                              August 24, 2005     BBG 002978

  45      Appointment for Meeting with Frank Luntz, Scott Reed, Yolanda Suarez, August 24, 2005         BBG 002979
          Kent Caperton
  46      Email from Ben Barnes to Allen Stanford, Yolanda Suarez, Jim Miller,      August 26, 2005     Receiver 527‐00261739
          Richard Razook, Edward Garlich, Scott Reed, Jim Davis, David Baker,
          Joanne Thornton, Pete Romero, Mitch Delk, Kent Caperton, Thomasson,
          Ben Barnes regarding dated change for Strategic Legislative Planning
          Session at Ben Barnes Office in DC
  47      Email to Allen Stanford and Yolanda Suarez forwarding Proposed            August 30, 2005     Receiver 527‐00261819 ‐
                                                                                                        Receiver 527‐00261822
          Legislative Initiative prepared by Ben Barnes Group
  48      Email correspondence between Jim Miller, Ben Barnes Mitch Delk, Kent August 30, 2005          Receiver 527‐00261753; BBG
                                                                                                        002917
          Caperton, Yolanda Suarez, Richard Razook, Carlos Loumiet, and Allen
          Stanford regarding Price Waterhouse Coopers
  49      Email correspondence between Richard Razook, Jim Miller, Kent             August 31, 2005     Receiver 527‐00261975
          Caperton, et al regarding TJrockax Legislative Update
  50      Email from Scott Reed to Yolanda Suarez, Kent Caperton and Julie Hodge August 31, 2005        Receiver 527‐00261741
          regarding meeting in Antigua on September 5
  51      Email from Richard Razook to Pete Romero, Ben Barnes, Davis,              September 1, 2005   Receiver 527‐00262132 ‐
                                                                                                        Receiver 527‐00261246
          Caperton, Jorie Roberts, Mitch Delk, Reed, Yolanda Suarez et al
          regarding USVI summary
  52      Email correspondence between Peter Romero, Richard Razook, Jim            September 1, 2005   BBG 003372 ‐BBG 003375
          Davis, Dave Baker, Joanne Thornton, Kent Caperton, et al regarding
          paper on Caribbean Security
  53      Email correspondence between Jim Miller, Mitch Delk, Ben Barnes,          September 3, 2005   Receiver 527‐00261824
          Yolanda Suarez, Richard Razook regarding meeting with Donna
          Christenson's staff
  54      Email from Kent Caperton to Yolanda Suarez and Scott Reed to discuss September 7, 2005        Receiver 527‐00261676
          current plans
  55      Appointment for Conference call between Allen Stanford, Yolanda           September 9, 2005   BBG 002630
          Suarez, Jim Miller, Richard Razook, Ed Garlich, Reed, Davis, David Baker,
          Joanne Thornton, Peter Romero, Mitch Delk, Kent Caperton , Patsy
          Thomasson, Wyeth Wiedeman, Kent Hance, Jrock@lobbycongress.com
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Exhibit                         Document Description                              Date                 Bates Number              Offer   Obj   Date
  #                                                                                                                                            Admit
  56      Email correspondence between Yolanda Suarez and Kent Caperton           September 9, 2005    Receiver 527‐00261931
          discussing email from Peter Merrill at Price Waterhouse Coopers

  57      Email correspondence between Kent Caperton and Yolanda Suarez to September 13, 2005          Receiver 527‐00261891
          set up call to discuss various issues.
  58      Email from Jim Miller to Allen Stanford , Richard Razook, Ben Barnes et September 13, 2005   Receiver 527‐00226731
          al regarding Revenue Estimates
  59      Email correspondence between Jim Miller, Kent Caperton and Richard September 19, 2005        Receiver 527‐00261870
          Razook regarding E&Y
  60      Email correspondence between Kent Caperton and Yolanda Suarez           September 21, 2005   Receiver 527‐00261764 ‐
                                                                                                       Receiver 527‐00261770
          forwarding E&Y proposal
  61      Email from Ben Barnes to Allen Stanford sending "America's Third        September 27, 2005   Receiver 527‐00226707
          Border"
  62      Email correspondence between Yolanda Suarez, Scott Reed, and Kent October 3, 2005            Receiver 527‐00261853
          Caperton regarding Casuro questionnaire
  63      Email correspondence from Kent Caperton to Yolanda Suarez to provide October 5, 2005         Receiver 527‐00261662
          update
  64      Email from Richard Razook to Pete Romero, Ben Barnes, Davis,            October 6, 2005      Receiver 527‐00262147 ‐
                                                                                                       Receiver 527‐00262160
          Caperton, Jorie Roberts, Mitch Delk, Reed, Yolanda Suarez, et al
          regarding USVI Tax Status
  65      Email from Kent Caperton to Yolanda Suarez and Julie Hodge sending      October 6, 2005      Receiver 527‐00261754 ‐
                                                                                                       Receiver 527‐00261755
          Stanford Financial Group Meeting Agenda
  66      Email from Kent Caperton to Yolanda Suarez regarding follow up call     October 12, 2005     Receiver 527‐00261661


  67      Email from Wyeth Wiedeman to Yolanda Suarez forwarding contact          October 13, 2005     Receiver 527‐00261749
          information for man in Ecuador
  68      Email from Kent Caperton to Yolanda Suarez discussing conference call   October 14, 2005     Receiver 527‐00261671
          between Kent Caperton, Mitch Delk, Jorie Roberts and Richard Razook

  69      Email correspondence between Scott Reed and Yolanda Suarez setting October 18, 2005          Receiver 527‐00280999
          up meeting in Miami on 10/21
  70      Email from Kent Caperton to Yolanda Suarez regarding meeting between October 18, 2005        Receiver 527‐00261668
          Mitch Delk, Ben Banes, and Kent Caperton, and Winston & Strawn.

  71      E‐mail from Jim Miller to Yolanda Suarez & Allen Stanford regarding USVI October 18, 2005    Receiver 527‐00280998
          issue
  72      E‐mail from Kent Caperton to Richard Razook regarding conference call October 19, 2005       Receiver 527‐00261665
          discussion


  73      Email from Allen Stanford to Yolanda Suarez regarding setting up a       October 19, 2005    Receiver 527‐00261736
          conference call tonight between Allen Stanford, Ben Barnes, Jim Sharp,
          Carlos Loumiet, David and Yolanda Suarez
  74      Email from Joanne Thornton (Stanford Washington Research Group) to October 19, 2005          Receiver 527‐00226691 ‐
                                                                                                       Receiver 527‐00226692
          Allen Stanford, Yolanda Suarez, Ben Barnes, Jim Miller, Jim Davis, Mitch
          Delk, Kent Caperton, et al regarding October 26th meeting

  75      Email from Ben Barnes sending names of Mexican lawyers                  October 19, 2005     Receiver 527‐00261751

  76      Email from Julie Hodge to Susan Martin regarding Carlos                 October 19, 2005     Receiver 527‐00280991

  77      Appointment for Conference call with Allen Stanford, Loumiet, Ben       October 19, 2005     BBG 002983
          Barnes, Sharp, Yolanda Suarez, and Stanford's Mexican President

  78      Itinerary for Ben Barnes and Jim Sharp in Mexico City & invoice to BBG October 20, 2005      BBG 002940 ‐002942
          for flight to Mexico City
  79      Appointment for Ben Barnes Conference call with Allen Stanford,        October 24, 2005      BBG 002984
          Yolanda Suarez, Jim Sharp
  80      Email from Mitch Delk to Kent Caperton and Scott Reed sending agenda October 25, 2005        BBG 004492 ‐BBG 004496


  81      Appointment for Stanford USVI Meeting in Ben Barnes DC Office           October 26, 2005     BBG 002986

  82      Email from Scott Reed to Yolanda Suarez (copy to Mitch Delk and Kent    October 27, 2005     Receiver 527‐00261738
          Caperton) regarding Cong. John Sweeney
  83      Email correspondence between Mitch Delk, Kent Caperton, Yolanda         October 21, 2005     Receiver 527‐00261876 ‐
                                                                                                       Receiver 527‐00261877
          Suarez, Scott Reed, Kent Hance, Richard Razook, and Jim Miller
                                                                                                       BBG 002597
          regarding policy language
  84      Email from Mauricio Alvarado to Ben Barnes regarding demand letter      October 28, 2005     Receiver 527‐00222931 ‐
                                                                                                       Receiver 527‐00222934
          sent to Walton Street regarding the Galleria Office transaction

  85      Email from Kent Caperton to Yolanda Suarez for 10 minutes of her time November 1, 2005       Receiver 527‐00261664


  86      Email from Richard Razook to Kent Caperton and Mitch Delk regarding     November 1, 2005     Receiver 527‐00262129
          USVI proposal
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Exhibit                          Document Description                          Date                  Bates Number              Offer   Obj   Date
  #                                                                                                                                          Admit
  87      Email from Jim Miller to Kent Caperton regarding an amendment that      November 3, 2005   Receiver 527‐00261703
          Baucus could support in Reconciliation as a hook.
  88      Email from Jim Miller to Kent Caperton regarding steps in preparation November 3, 2005     Receiver 527‐00261756
          for next year.
  89      Appointment for Ben Barnes to attend civil rights event in Memphis with November 3, 2005   BBG 002987
          Jim Davis
  90      Email correspondence between Jim Miller and Kent Caperton regarding November 15, 2005      Receiver 527‐00261873 ‐
                                                                                                     Receiver 527‐00261874
          Senate Finance Committee Modification and Revenue Table

  91      Email from Scott Reed sending Kent Caperton and Yolanda Suarez an      November 15, 2005   Receiver 527‐00261761 ‐
                                                                                                     Receiver 527‐00261763
          Article from NY Times titled "Voter Profiles for Bloomberg Went Beyond
          Ethnic Labels"
  92      CASURO publishes results of Public Opinion Poll in Antigua             November 19, 2005   BBG 003433 ‐ BBG 003474


  93      Email from Mitch Delk to Beth and Bob sending BBG address              November 21, 2005   BBG 002597

  94      Appointment for conference call with Ben Barnes, Caperton, Reed, Mitch November 30, 2005   BBG 002595
          Delk, Kent Hance, jrock@lobbycongress.com, and dpore@hswww.com
          regarding the Antigua initiative
  95      Allen Stanford Agenda for November 30th‐December 1 meetings with November 30, 2005         Receiver 527‐00282771 ‐
                                                                                                     Receiver 527‐00282772
          Ben Barnes Group
  96      Email correspondence between Julie Hodge and Susan Martin regarding December 12, 2005      Receiver 527‐00280685
          Letter from Robert Van Order
  97      SIB Quarterly Update Issued                                            January 1, 2006     BBG 003922

  98      Email from Richard Razook to Ben Barnes, Davis, Jorie Roberts, Mitch   January 23, 2006    Receiver 527‐00261659
          Delk, Yolanda Suarez, Caperton, Reed, et al regarding USVI Final
          Regulations Expected
  99      Email from Ben Barnes to Allen Stanford and Yolanda Suarez regarding January 27, 2006      Receiver 527‐00261621 ‐
                                                                                                     Receiver 527‐00261624
          Public Policy Issues Impacting Stanford
 100      Email from Richard Razook to Ben Barnes, Davis, Jorie Roberts, Mitch   January 30, 2006    Receiver 527‐00261660
          Delk, Yolanda Suarez, Caperton, Reed, et al forwarding the USVI final
          regs.
 101      Email from Kent Caperton l to Mitch Delk and Scott Reed regarding Ben February 3, 2006     BBG 004578
          Barnes meeting with Stanford
 102      Appointment for Winter award Gala honoring Allen Stanford (Ben         February 9, 2006    BBG 002989
          Barnes has table for 10)
 103      Itinerary for Feb 12 and 13th including Ben Barnes meetings with       February 13, 2006   BBG 000642
          Yolanda Suarez in DC
 104      Email from Julie Hodge to Ben Barnes regarding University of Houston   February 14, 2006   BBG 00652 ‐ BBG 000658
          and sending U of H agreement
 105      Email from Mitch Delk to Ken Caperton regarding follow‐up from         February 21, 2006   BBG 004030
          meeting on Friday
 106      Appointment for Ben Barnes meeting with Reed, Caperton, Mitch Delk March 29, 2006          BBG 002991
          regarding Stanford
 107      Appointment for Ben Barnes breakfast with Allen Stanford and Davis     May 5, 2006         BBG 002992


 108      Appointment for Conference call with Yolanda Suarez, Reed and Ben       May 8, 2006        BBG 002993
          Barnes
 109      Email correspondence from Susan Martin regarding Ben Barnes on          May 10, 2006       Receiver 527‐00280265
          Hannity & Colmes on Fox News
 110      Email correspondence between Wyeth Wiedeman and Yolanda Suarez July 27, 2006               Receiver 527‐00226356
          regarding Mitch Delk
 111      Email from Mitch Delk to Yolanda Suarez, Ben Barnes, Kent Caperton      August 14, 2006    Receiver 527‐00226355
          and Scott Reed regarding dinner he had with a member of House
 112      Email correspondence between Mitch Delk and Kent Caperton regarding August 14, 2006        BBG 000721
          email he sent to Yolanda Suarez
 113      Email correspondence between Kent Caperton and Mitch Delk email         August 24, 2006    BBG 003244
          regarding status of efforts to aid in determining the compliance issues
          with current Treasury regs.
 114      Appointment for dinner between Ben Barnes, Jim Davis and Alfred         August 24, 2005    BBG 002995
          Jackson in Memphis
 115      Email correspondence between Mitch Delk, Ben Barnes, Yolanda Suarez, August 25, 2006       Receiver 527‐00261548 ‐
                                                                                                     Receiver 527‐00261549
          and Kent Caperton regarding VI legislative changes
 116      Appointment for Conference Call between Yolanda Suarez, Ben Barnes, September 20, 2006     Receiver 527‐00261395
          and Jim
 117      Appointment for Ben Barnes to attend IV Annual Congressional Dinner September 27, 2006     BBG 002996
          with Caribbean Community with Special Guest Allen Stanford

 118      SIB Quarterly Update                                                 October 1, 2006       BBG 000076 ‐BBG 000079


 119      Email from Susan Martin to Yolanda Suarez regarding 2005 year‐end    October 18, 2006      Receiver 527‐00226242
          lobby reports.
   Case 3:10-cv-00527-N-BQ Document 117 Filed 03/02/15                                                             Page 6 of 14 PageID 2087


Exhibit                         Document Description                              Date                 Bates Number              Offer   Obj   Date
  #                                                                                                                                            Admit
 120      Article printed titled "Browne says Stanford Deserving of Award"        October 31, 2006     BBG 004163 ‐ BBG 004165
          (knighthood)
 121      Email from Ben Barnes to Allen Stanford re SEC notes                    December 6, 2006     Receiver 527‐00279461

 122      Appointment for Ben Barnes meeting with Allen Stanford in DC office     December 13, 2006    BBG 002997


 123      Email from Ben Barnes to Allen Stanford regarding cricket DVD           December 18, 2006    Receiver 527‐00279452

 124      Ben Barnes in Miami to meet with Allen Stanford                         December 27, 2006    BBG 002998

 125      Email from Ben Barnes to Allen Stanford regarding swearing in events    December 29, 2006    Receiver 527‐00279446 ‐
                                                                                                       Receiver 527‐00279449

 126      Email correspondence between Wyeth Wiedeman and Yolanda Suarez          January 10, 2007     Receiver 527‐00225753
          to regarding lobby report.
 127      Email from Martin to Julie Hodge and Mitch Delk regarding 1/21/07 ‐     January 19, 2007     Receiver 527‐00279434 ‐
                                                                                                       Receiver 527‐00279435
          1/22/07 itinerary in St. Croix
                                                                                                       BBG 002944 ‐ BBG 002945


 128      Email from Susan Martin to Patsy Thomasson regarding list of legislators February 2, 2007    BBG 002463 ‐ BBG 002466
          slated to get the Stanford articles
 129      Email from Patsy Thomasson to Susan Martin regarding mailing list for February 5, 2007       BBG 000372
          Stanford Article
 130      Email from Julie Hodge to rosewood hotels confirming booking for Ben February 14, 2007       Receiver 527‐00281759
          Barnes, Mitch Delk, Sharp in Antigua
 131      Email from Mitch Delk to Yolanda Suarez regarding follow‐up from         February 20, 2007   Receiver 527‐00225721
          Friday's meeting
 132      Appointment for conference call between Ben Barnes and Rocky Stein February 22, 2007         BBG 003001
          (Stanford)
 133      Thomasson sends email to Romero regarding Stanford cricket               February 22, 2007   BBG 000365
          tournament and a potential guest country.
 134      Appointment for call between Ben Barnes, Scott Reed and Mitch Delk       February 23, 2007   BBG 003002
          regarding Stanford
 135      Fax from Julie Hodge to Ben Barnes sending copies of articles            March 8, 2007       BBG 000671 ‐ BBG 000676


 136      Email from Matt Harriger (assistant to Ben Barnes) to Julie Hodge        March 27, 2007      Receiver 527‐00279268 ‐
                                                                                                       Receiver 527‐00279270
          regarding Chairman Rangel comments
 137      List of Issues dated 4/11/07                                             April 11, 2007      BBG 04669

 138      Email from Ben Barnes to Allen Stanford sending items for his            April 13, 2007      Receiver 527‐00279228
          consideration
 139      Email correspondence between Ben Barnes and Allen Stanford regarding April 17, 2007          Receiver 527‐00279225;
          payment of invoices
 140      Appointment for meeting between Ben Barnes and Jim Davis at Stanford April 27, 2007          BBG 003004
          DC office
 141      Email correspondence between numerous persons including Caperton May 10, 2007                BBG 003197 ‐ BBG 003199
          regarding Current 2 Current due diligence materials
 142      Email from Ben Barnes to Allen Stanford regarding Virgin Islands         May 11, 2007        Receiver 527‐00279211

 143      Email regarding Ben Barnes hosting reception for Senator Jay Rockefeller May 18, 2007        Receiver 527‐00225542


 144      Email from Ben Barnes to Allen Stanford regarding items he would like   May 22, 2007         Receiver 527‐00279187
          to discuss.
 145      Email from Ben Barnes to Allen Stanford sending an article from The     May 23, 2007         Receiver 527‐00256672
          Politico titled "Bill Would Crack Down on Offshore Tax Shelters"

 146      Email correspondence between Ben Barnes and Allen Stanford regarding May 31, 2007            Receiver 527‐00256621
          the Clinton Global Initiative
 147      Email from Mauricio Alvarado to Ben Barnes regarding Colombia        June 7, 2007            Receiver 527‐00225497 ‐
                                                                                                       Receiver 527‐00225519

 148      Email from Thomasson to Pete Romero regarding editorial                 June 7, 2007         BBG 00345 ‐BBG 000348

 149      Email correspondence between Yolanda Suarez and Vanessa Martinez        June 22, 2007        Receiver 527‐00225493
                                                                                                       BBG 002946
          regarding Ben Barnes meeting with Allen Stanford
 150      Email correspondence from Matt Harriger to Kye Walker (for Allen        June 22, 2007        Receiver 527‐00257144 ‐
                                                                                                       Receiver 527‐00257146
          Stanford from Ben Barnes) regarding Gaming in Antigua.
 151      Email from Ben Barnes sending Allen Stanford a Save the Date for B.     June 22, 2007        Receiver 527‐00257147 ‐
                                                                                                       Receiver 527‐00257148
          Rappaport's 90th Birthday
 152      Email correspondence between Rhonda Kelly (Stanford 20/20) and Ben      June 27, 2007        Receiver 527‐00257435
          Barnes regarding Stanford 20/20
 153      Email from Ben Barnes to Allen Stanford regarding Len DeLuca            June 27, 2007        Receiver 527‐00279156

 154      Email correspondence between Allen Stanford and Laurie‐Ann Holding      June 28, 2007        Receiver 527‐00256669
          (Stanford 20/20) regarding Ben Barnes and ESPN
 155      Email from Rhonda Kelly to Kye Walker regarding ESPN and call from      June 29, 2007        Receiver 527‐00256659
          Ben Barnes
 156      Email from Laurie Ann Holding (Stanford 20/20) to Kye Walker            July 2, 2007         Receiver 527‐00257151
          regarding ESPN meeting.
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Exhibit                          Document Description                             Date                 Bates Number                    Offer   Obj   Date
  #                                                                                                                                                  Admit
 157      Email from Nathaniel Breed (Zuckert Scoutt & Rasenberger) to Yolanda    July 23, 2007        Receiver 527‐00226196 ‐
                                                                                                       Receiver 527‐00226197
          Suarez about his client Caribbean Sun
 158      BBG enters into written agreement with Cauthen Forbes & Williams.       August 1, 2007       Forbes 1 Ben Barnes ‐ Forbes
                                                                                                       2 Ben Barnes

 159      Email correspondence between Julie Hodge, Alvarado Mauricio, Yolanda August 2, 2007          Receiver 527‐00222854 ‐
                                                                                                       Receiver 527‐00222856
          Suarez, Davis, Ben Barnes, and Pete Romero regarding Cubal ‐ Letter to
          Office of Foreign Assets Control
 160      Email from Patsy Thomasson to Peter Romero regarding Cricket request August 9, 2007          BBG 001384
          to Treasury.
 161      Email from Mitch Delk to Kent Caperton regarding meeting tomorrow at August 10, 2007         BBG 004672

 162      Appointment for meeting between Ben Barnes, Andrew Baker, Jim Davis August 21, 2007          BBG 003008
          and Andrew Fink in Memphis
 163      Email from Ben Barnes to Allen Stanford regarding meeting with Charlie August 30, 2007       Receiver 527‐00281437
          Rangel in NY
 164      Email from Julie Hodge to Allen Stanford regarding Ben Barnes          September 4, 2007     Receiver 527‐00281431

 165      espn.com article "WICB and Stanford agree [sic] five year deal"        September 4, 2007
 166      Email from Ben Barnes to Allen Stanford, Jim Davis, Julie Hodge, and   September 6, 2007     Receiver 527‐00225448 ‐
                                                                                                       Receiver 527‐00225450
          Leanne Harvey sending a memo detailing the US Virgin Islands
          Legislative Team
 167      Email correspondence between Julie Hodge and Vanessa Martinez          September 18, 2007    Receiver 527‐00225447
          confirming Ben Barnes meetings in St. Croix
 168      Travel Itinerary and Aircraft invoice to BBG for flight to USVI        September 18, 2007    BBG 002947 ‐ BBG 002948


 169      Ben Barnes emails Allen Stanford regarding Governor of USVI             September 18, 2007 Receiver 527‐00230110
 170      USVI Legislative/EDA Meeting Agenda for September 19, 2007              September 19, 2007 Receiver 527‐00257177‐
                                                                                                       Receiver 527‐00257178
 171      Email correspondence between Mitch Delk and Kevin Callwood              October 4, 2007      BBG 004675 ‐ BBG 004676
          regarding meeting
 172      Email correspondence between Julie Hodge and Ben Barnes regarding       October 9, 2007      Receiver 527‐00281404
          CUBA update
 173      Email correspondence between Patsy Thomasson, Julie Hodge, Peter        October 11, 2007     Receiver 527‐00278949 ‐
                                                                                                       Receiver 527‐002278950
          Romero, Laurie Ann Holding and Rhonda Kelly Cuba OFAC Letter

 174      Email correspondence between Patsy Thomasson, Peter Romero, Julie October 12, 2007           Receiver 527‐00278930 ‐
                                                                                                       Receiver 527‐00278933;
          Hodge, Susan Martin regarding questions from Antonio Cabral at
                                                                                                       Receiver 527‐00281398
          Treasury
 175      Email from Ben Barnes to Allen Stanford regarding a few things he'd like October 16, 2007    Receiver 527‐00230104
          to discuss with Allen Stanford
 176      Email from Ben Barnes to Allen Stanford regarding his participation in   October 22, 2007    Receiver 527‐00230102
          the Caribbean International Leadership Summit.
 177      Email correspondence between Allen Stanford and Ben Barnes regarding October 22, 2007        Receiver 527‐00257142
          an invitation to meet with Sen. Obama in St. Thomas.
 178      Email from Ben Barnes to Allen Stanford regarding Nancy Pelosi event     October 23, 2007    Receiver 527‐00230101


 179      Email correspondence between Susan Martin and Kye Walker regarding      October 31, 2007     Receiver 527‐00230099
          Ben Barnes asking Allen Stanford to call the DC office
 180      Email from Leanne Harvey to Yolanda Suarez, Gil Lopez, Laura            November 3, 2007     Receiver 527‐00225111
          Pendergest and Mark Kuhrt regarding USVI meeting moved
 181      Agenda for November 5, 2007 Meeting                                     November 5, 2007     BBG 004682

 182      Email correspondence between Mitch Delk, Yolanda Suarez and Laura       November 11, 2007    Receiver 527‐00210479
          Pendergast regarding meeting at Ben Barnes DC office
 183      Email from Ben Barnes to Allen Stanford regarding Charlie Rangel        November 14, 2007    Receiver 527‐00230046


 184      Email correspondence between Mitch Delk, Jim Gould and John Raffaelli November 15, 2007      CC 81 Ben Barnes
          regarding scheduling a meeting with KPMG
 185      Email correspondence between Yolanda Suarez and Kye Walker            November 16, 2007      Receiver 527‐00225021
                                                                                                       Receiver 527‐00225022
          regarding Cuba research
 186      Email correspondence between Mitchell Delk, Yolanda Suarez, Jim Gould November 28, 2007      Receiver 527‐00224877
          and Kent Caperton regarding Meeting with VI Legislative team and
          KPMG
 187      Meeting between Yolanda Suarez, Caperton, Capital Counsel and Joe     November 29, 2007      Receiver 527‐00224876
          Sadler at BBG offices
 188      World Finance Magazine with Allen Stanford on cover                   December 1, 2007       BBG 000807 ‐BBG 001002


 189      Email from Ben Barnes to Allen Stanford regarding BBG payment          December 3, 2007      Receiver 527‐00224845

 190      Email from Susan Martin to Yolanda Suarez regarding BBG monthly fee December 5, 2007         Receiver 527 ‐ 00224843
          breakout
 191      Email correspondence between Yolanda Suarez and Allen Stanford BBG December 7, 2007          Receiver 527‐00226133
          fee and DC office
 192      SIB 2007 Annual Report                                              December 31, 2007        KVT‐12 to 7‐15‐10 declaration
   Case 3:10-cv-00527-N-BQ Document 117 Filed 03/02/15                                                               Page 8 of 14 PageID 2089


Exhibit                            Document Description                             Date                  Bates Number              Offer   Obj   Date
  #                                                                                                                                               Admit
 193      Email from Ben Barnes to Allen Stanford regarding various items           January 3, 2008       Receiver 527‐00229885

 194      Appointment for Conference call with Jim Davis, Yolanda Suarez, Laura     January 4, 2008       Receiver 527‐00226120
          Pendergest, Gil Lopez, Mark Kuhrt, Larry Campagna, Jaremi Chilton and
          Ben Barnes re: VI Initiative on January 7, 2008
 195      Email correspondence between Mitch Delk and Susan Martin regarding        January 4, 2008       BBG 002535
          assignments
 196      IMG Media and ESPN Agreement for the broadcast of the 2008 20/20          January 7, 2008       Receiver 527‐00292302 ‐
                                                                                                          Receiver 527‐00292310
          Cricket Tournament
 197      Email from Ben Barnes to Allen Stanford confirming Charlie Rangel         January 7, 2008       Receiver 527‐00229883
          meeting
 198      Agenda for Meeting with Yolanda Suarez                                    January 8, 2008       BBG 004706

 199      Email from Scott Reed to Ben Barnes, Kent Caperton, and Mitch Delk        January 9, 2008       BBG 001943 ‐ BBG 001944
          sending article from Reuters regarding Stanford Financial
 200      Email from Ben Barnes to Allen Stanford regarding BBG and subcontractor   January 15, 2008      Receiver 527‐00224678
          payment
 201      Email from Yolanda Suarez to Allen Stanford regarding Ben Barnes          January 22, 2008      Receiver 527‐00226077


 202      Email correspondence between Mitch Delk and Kent Caperton regarding January 22, 2008            Receiver 527‐00224632 ‐
                                                                                                          Receiver 527‐00224636
          Stanford Financial Outline for Potential Meeting with Sen. Schumer

 203      Email from Ben Barnes to Kent Caperton, Mitch Delk, Scott Reed, John January 25, 2008           Receiver 527‐00229870 ‐
                                                                                                          Receiver 527‐00229875
          Raffaelli, Jeffrey Forbes, and Jim Gould calling for a Stanford meeting on
          January 29, 2008
 204      Email correspondence between Susan Martin and John Raffaelli, Jim          January 29, 2008     BBG 002866
          Gould, and Jeffrey Forbes regarding Stanford Meeting
 205      Email from Wyeth Wiedeman to Yolanda Suarez regarding DC Lobbyists January 29, 2008             Receiver 527‐00224605


 206      Email correspondence between Mitch Delk and Susan Martin regarding February 20, 2008            BBG 002512
          Stanford office opening
 207      Email correspondence between Susan Martin, Yolanda Suarez and Gil   February 14, 2008           Receiver 527‐00226017 ‐
                                                                                                          Receiver 527‐00226026
          Lopez regarding lobbying report
 208      ESPN.com article "Stanford offers $20 million winner‐takes‐all pot" February 25, 2008

 209      Appointment for Ben Barnes call with Glenn Ketover (Stanford) re          April 1, 2008         BBG 003015
          FAM/Eurogestion
 210      Email from Scott Blair to Mark Kuhrt regarding BBG billing                April 4, 2008         Receiver 527‐00230383 ‐
                                                                                                          Receiver 527‐00230384
 211      Email from Ben Barnes to Yolanda Suarez regarding payments owed           April 9, 2008         Receiver 527‐00224280


 212      Appointment for Ben Barnes and Jim Davis dinner in DC                     May 14, 2008          BBG 003018

 213      Appointment for lunch with Yolanda Suarez, Franco Moccia, Allen           May 23, 2008          Receiver 527‐00225920
          Stanford.
 214      Email from Ben Barnes to Allen Stanford regarding Rockefeller affair in   May 28, 2008          Receiver 527‐00229547
          St. Croix
 215      Appointment for Meeting with Stanford group                               June 11, 2008         BBG 003019

 216      Email correspondence between Jim Gould and Mitch Delk regarding           July 2, 2008          CC 48 Ben Barnes
          Stanford
 217      Appointment for Ben Barnes meeting with Mitch Delk re USVI                September 3, 2008 BBG 003021
 218      Email from Stanford 20/20 Accountant to Andrea Stoelker and Julie         September 16, 2008 Receiver 527‐00292085 ‐
                                                                                                          Receiver 527‐00292086
          Hodge regarding Sky Sports Payment Received
 219      Forbes article Secrets of the Self‐made Allen Stanford                    September 17, 2008 BBG 001920 ‐ BBG 001921

 220      Appointment for Ben Barnes Meeting in DC Office with Antigua people       September 18, 2008 BBG 002958
          and Greg Strimple at Mercury
 221      Email from Mitch Delk to Susan Martin and Scott Moorhead regarding a      October 1, 2008       BBG 002490 ‐ BBG 002491
          Business & Political Risk Assessment document
 222      Email from Stanford 20/20 Accountant to Julie Hodge regarding Sky         October 2, 2008       Receiver 527‐00292083 ‐
                                                                                                          Receiver 527‐00292084
          Sports Advance of Credit Confirmation
 223      forbes.com publishes "Crazy for Cricket"                                  October 6, 2008       BBG 004314‐BBG 4321

 224      Email appointment for conference call between Ben Barnes, Allen           October 9, 2008       Receiver 527‐00257044
          Stanford, Mitch Delk, and Wayne Rogers
 225      Stanford 20/20 LLC Broadcast Rights Agreement with BBC                    October 11, 2008      Receiver 527‐00292268‐
                                                                                                          Receiver 527‐00292274
 226      Stanford 20/20 LLC Broadcast Rights Agreement with ESPN                   October 14, 2008      Receiver 527‐00292275 ‐
                                                                                                          Receiver 527‐00292286
 227      Stanford 20/20 LLC Broadcast Rights Agreement with TAJ Television         October 15, 2008      Receiver 527‐00292289 ‐
                                                                                                          Receiver 527‐00292295

 228      Email correspondence between Stanford 20/20 and Ben Barnes         October 21, 2008             BBG 001493 ‐ BBG 001494
          regarding Stanford 20/20 Invitation
 229      Email from Susan Martin to Scott Moorhead regarding DGA conference October 21, 2008             BBG 000129
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Exhibit                            Document Description                                     Date                Bates Number              Offer   Obj   Date
  #                                                                                                                                                     Admit
 230      Email from Stanford 20/20 Accountant to Andrea Stoelker and Julie                 November 3, 2008    Receiver 527‐00292077 ‐
                                                                                                                Receiver 527‐00292078
          Hodge regarding Sky Sports Incoming Credit

 231      Email from Susan Martin sends email to Yolanda Suarez regarding                   November 4, 2008    Receiver 527‐00223695
          conference call
 232      Email from Susan Martin to Yolanda Suarez regarding call and Joe                  November 5, 2008    Receiver 527‐00223691
          Kennedy request
 233      Email correspondence between Susan Martin and Yolanda Suarez                      November 6, 2008    Receiver 527‐00223678 ‐
                                                                                                                Receiver 527‐002223679
          regarding meeting with Ben Barnes
 234      Email correspondence forwarding DGA brochure                                      November 7, 2008    Receiver 527‐00256675 ‐
                                                                                                                Receiver 527‐00256683
 235      Ben Barnes Itinerary for trip to DGA in St. Thomas                      November 8, 2008              BBG 02950

 236      Email correspondence between Susan Martin and Yolanda Suarez            November 9, 2008              Receiver 527‐00223674
          regarding Sunday meeting with Ben Barnes
 237      Email correspondence between Wayne Rogers (Synergics) and Mitch         November 13, 2008             BBG 04337
          Delk regarding Green Energy Caribbean
 238      Email from Ben Barnes to Allen Stanford regarding Joe Kennedy.          November 19, 2008             Receiver 527‐00229308

 239      Email from Ben Barnes to Allen Stanford regarding meeting with Wayne December 1, 2008                 Receiver 527‐00257018
          Rogers
 240      Email from Ben Barnes to Allen Stanford regarding Wayne Rogers          December 8, 2008              Receiver 527‐00229306

 241      Email from Ben Barnes to Allen Stanford regarding Green Energy          December 9, 2008              Receiver 527‐00257016 ‐
                                                                                                                Receiver 527‐00257017
          Caribbean Reconciliation
 242      Appointment for Ben Barnes' plane to fly Wayne Rogers to Antigua to     December 22, 2008             BBG 003027
          meet Allen Stanford
 243      Email from Wayne Rogers to Kent Caperton regarding Ben Barnes'          January 12, 2009              BBG 004410
          discussions with Allen Stanford
 244      Email correspondence between Susan Martin and Mitch Delk regarding February 4, 2009                   RMD 17 Ben Barnes
          payment of retainer
 245      Email from Susan Martin to Wayne Rogers regarding requests from Allen February 4, 2009                BBG 004435
          Stanford
 246       Business Week publishes article "Is Stanford Financials Offer Too Good February 11, 2009             BBG 000662 ‐ BBG 000663

 247      Email from Ben Barnes to Allen Stanford sending information regarding February 12, 2009               Receiver 527‐00229287 ‐
                                                                                                                Receiver 527‐00229289
          Williams & Connolly
 248      Email from Ben Barnes to Allen Stanford regarding appointment in DC at February 12, 2009              Receiver 527‐00229291
          10 am.
 249      Email from Ben Barnes to Allen Stanford requesting to know if he will  February 12, 2009              Receiver 527‐00229290
          make it tomorrow
 250      Accounting Notes on Kerri's Computer                                                                  Plaintiffs' 186

 251      Wayback Machine Docs and Affidavit
 252      BBG‐Stanford Accounting Transactions                                                                  Plaintiffs' 116

 253      Accounting documents related to payments to Subcontractors                                            BBG 001712 ‐ BBG 001782


 254      SIB Brochure
 255      BBG invoice to Stanford Financial for $1,000,000 for Retainer for Governmental June 23, 2005          BBG 004849
          Affairs
 256      $1,000,000 wire transfer confirmation from Stanford Financial                  June 30, 2005          BBG 004847 ‐ BBG 004848


 257      BBG invoice to Stanford Financial $20,000 for Professional services rendered in   December 20, 2005   BBG 004856
          connection with preparation of the report and slides "America's Third Border"

 258      BBG invoice to Stanford Financial for $500,000 for professional services          January 5, 2006     BBG 004859
          rendered.
 259      Check from Stanford Financial for $20,000 payable to BBG                          January 19, 2006    BBG 004853 ‐ BBG 004855


 260      Confirmation of $500,000 wire transfer from Stanford Financial                    February 28, 2006   BBG 004857 ‐ BBG 004858


 261      BBG invoice to Stanford Foundation for $72,647.40 for reimbursement for Ben       June 19, 2006       BBG 03029 ‐ BBG 03050
          Barnes Books and mailing costs
 262      Confirmation of $68,466.90 wire transfer to BBG                                   August 1, 2006      BBG 003052

 263      BBG issues credit memo in amount of $4,180.50 for books not mailed                October 3, 2006     BBG 03051


 264      BBG invoice to Stanford Financial $325,000 for retainer for the month of          February 22, 2007   BBG 004863
          February 2007
 265      BBG invoice to Stanford Financial $325,000 for retainer for the month of March    March 1, 2007       BBG 004867
          2007
 266      Confirmation of wire transfer from Stanford Financial to BBG For $325,000 for     April 2, 2007       BBG 004860 ‐ BBG 004862
          consulting work on behalf of Stanford Global Mgt Virgin Islands, SIBL, SGH, and
          Islands Club
 267      Confirmation of wire transfer from R. Allen Stanford to BBG for $325,000          April 17, 2007      BBG 004864 ‐ BBG 004866


 268      BBG invoice to Stanford Financial for $265,000 for retainer for the month of July July 1, 2007        BBG 004872
          2007
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Exhibit                            Document Description                                     Date                Bates Number              Offer   Obj   Date
  #                                                                                                                                                     Admit
 269      Confirmation of wire transfer from R. Allen Stanford to BBG for $265,000         July 2, 2007         BBG 004868 ‐ BBG 004871


 270      BBG invoice to Stanford Financial for $265,000 for retainer for the month of     August 1, 2007       BBG 004876
          August 2007
 271      Confirmation of wire transfer from R. Allen Stanford to BBG for $265,000         August 2, 2007       BBG 004873 ‐ BBG 004875


 272      BBG invoices to Stanford Financial for $265,000 for retainer for the month of    September 1, 2007    BBG 004880
          September 2007
 273      Confirmation of wire transfer from R. Allen Stanford to BBG for $265,000         September 18, 2007   BBG 004877 ‐ BBG 004879


 274      BBG invoice to Stanford Financial $265,000 for retainer for the month of October October 1, 2007      BBG 004885
          2007
 275      Confirmation of wire transfer from R. Allen Stanford to BBG for $265,000         October 19, 2007     BBG 004881 ‐ BBG 004884


 276      BBG invoice to Stanford Financial for $265,000 for retainer for the month of     November 1, 2007     BBG 004889
          November 2007
 277      BBG invoice to Stanford Financial Group for $265,000 for December Retainer       December 1, 2007     BBG 001859


 278      Confirmation of wire transfer from R. Allen Stanford to BBG for $265,000         December 10, 2007    BBG 004886 ‐ BBG 004888


 279      BBG invoice to Stanford Financial Group for $75,000 for January Retainer         January 1, 2008      BBG 001813


 280      BBG invoice to Stanford Financial Group for $75,000 for February Retainer        February 1, 2008     BBG 001815


 281      Confirmation of wire transfer from Stanford Financial to BBG for $150,000        February 29, 2008    BBG 001788 ‐ BBG 001790


 282      BBG invoice to Stanford Financial Group $50,000 for March Retainer               March 1, 2008        BBG 001816


 283      BBG invoice to Stanford Financial Group $50,000 for April Retainer               April 1, 2008        BBG 001817

 284      BBG invoice to Stanford Financial Group $55,000 for May Retainer                 May 1, 2008          BBG 001818

 285      Check from Stanford Financial for $100,000 for March and April retainers         May 5, 2008          BBG 001791 ‐ BBG 001792


 286      BBG invoice to Stanford Financial Group $55,000 for June Retainer                June 1, 2008         BBG 001819

 287      Confirmation of wire transfer from Stanford Financial to BBG for $375,000 for    June 2, 2008         BBG 001794 ‐ BBG 001795
          Dec 2007 retainer and March ‐ June 2008 retainers                                                     BBG 004890


 288      BBG invoice to Stanford Financial Group for $55,000 for July Retainer            July 1, 2008         BBG 001820


 289      Confirmation of wire transfer from Stanford Financial to BBG for $55,000 for July July 18, 2008       BBG 001796 ‐ BBG 001797
          Invoice                                                                                               BBG 004891


 290      BBG invoice to Stanford Financial Group for $55,000 for August Retainer          August 1, 2008       BBG 001821


 291      Confirmation of wire transfer from Stanford Financial to BBG for $55,000 for     August 13, 2008      BBG 001798 ‐ BBG 001800
          August Retainer
 292      BBG invoice to Stanford Financial Group for $55,000 for September Retainer       September 1, 2008    BBG 001822


 293      BBG invoice to Stanford for $173,000 for Synergics Energy Service Project        October 1, 2008      BBG 001826


 294      BBG invoice to Stanford Financial Group for $55,000 for October Retainer         October 1, 2008      BBG 001023


 295      Confirmation of wire transfer from Stanford Financial to BBG for $173,000 wire   October 3, 2008      BBG 001801 ‐ BBG 001802
          transfer from Stanford Financial
 296      Confirmation of wire transfer from Stanford Financial to BBG for $110,000 for    October 24, 2008     BBG 001803 ‐ BBG 001805
          September and October Retainer
 297      BBG invoices Stanford Financial Group for $55,000 for November Retainer          November 1, 2008     BBG 001824


 298      Confirmation of wire transfer from Stanford Financial to BBG for $55,000 for     November 7, 2008     BBG 001807 ‐ BBG 001809
          November Retainer
 299      BBG invoice to Stanford Financial Group for $55,000 for December Retainer        December 1, 2008     BBG 001825


 300      BBG invoice to Stanford Financial Group for $55,000 for January Retainer         January 1, 2009      BBG 001827


 301      Confirmation of wire transfer from Stanford Financial to BBG for $110,000 for    February 11, 2009    BBG 001810 ‐ BBG 001811
          December 2008 & January 2009 invoices                                                                 BBG 004892


 302      BBG check payable to Scott Reed for $15,000 for retainer                         July 12, 2005        BBG 04960

 303      Chesapeake Enterprises invoice to BBG for $15,000 for Strategic Consulting       September 1, 2005    BBG 004923


 304      BBG check to Chesapeake Enterprises for $15,000 paying 9/1/05 invoice            September 8, 2005    BBG 004922


 305      Chesapeake Enterprises invoice to BBG for $15,848.37 for Strategic Consulting & October 3, 2005       BBG 004925 ‐ BBG 004927
          Expenses
 306      BBG check to Chesapeake Enterprises $15,848.37 paying 10/3/05 invoice           October 20, 2005      BBG 004924
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Exhibit                            Document Description                                   Date                 Bates Number              Offer   Obj   Date
  #                                                                                                                                                    Admit
 307      Chesapeake Enterprises invoice to BBG for $15,000 for Strategic Consulting      November 1, 2005     BBG 004929


 308      BBG check to Chesapeake Enterprises for $15,000 paying 11/1/05 invoice          November 30, 2005    BBG 004928


 309      Chesapeake Enterprises invoice to BBG for $15,000 for Strategic Consulting      December 1, 2005     BBG 004931


 310      BBG check to Chesapeake Enterprises for $15,000 paying 12/1/05 invoice          December 15, 2005    BBG 004930


 311      Chesapeake Enterprises invoice to BBG for $15,000 for Strategic Consulting      January 3, 2006      BBG 004933


 312      Chesapeake Enterprises invoices BBG $15,000 for Strategic Consulting            February 1, 2006     CHES‐000006


 313      BBG check to Chesapeake Enterprises for $15,000 paying 1/3/06 invoice           February 2, 2006     BBG 004932


 314      Chesapeake invoice to BBG for $10,000 for July 2007 Consulting Fee ‐ Stanford   July 2, 2007         BBG 003081
          Financial
 315      BBG check to Chesapeake Enterprises for $10,000 paying 7/2/07 invoice           July 2, 2007         BBG 004934


 316      Chesapeake Enterprises invoice to BBG for $10,000 for August 2007 Consulting    August 1, 2007       CHES‐000008; BBG 004936
          Fee ‐ Stanford Financial
 317      BBG check to Chesapeake Enterprises for $10,000 paying 8/1/2007 invoice         August 10, 2007      BBG 004936


 318      Chesapeake Enterprises invoice to BBG for $10,000 for September 2007            September 4, 2007    BBG 004939
          Consulting Fee ‐ Stanford Financial
 319      BBG check to Chesapeake Enterprises for $10,000 paying 9/1/07 invoice           September 18, 2007   BBG 004938


 320      Chesapeake Enterprises invoice to BBG for $10,000 for October 2007 Consulting October 1, 2007        BBG 004941


 321      BBG check to Chesapeake Enterprises for $9.774.55 for 10/1/07 invoice           October 23, 2007     BBG 004940


 322      Chesapeake Enterprises invoice to BBG for $10,000 for November 2007             November 1, 2007     BBG 004943
          Consulting
 323      Chesapeake Enterprises invoice to BBG for $10,000 for December 2007             December 3, 2007     BBG 004945
          Consulting
 324      BBG check to Chesapeake Enterprises for $10,000 for 11/12/07 invoice            December 6, 2007     BBG 004942


 325      Chesapeake Enterprises Invoice to BBG for $10,000 for January 2008 Consulting ‐ January 2, 2008      BBG 001766
          Stanford Financial
 326      Chesapeake Enterprises Invoice to BBG for $10,000 for February 2008 Consulting February 1, 2008      BBG 001767
          ‐ Stanford Financial
 327      Chesapeake Enterprises Invoice to BBG for $10,000 for March 2008 Consulting ‐ March 3, 2008          BBG 001768
          Stanford Financial
 328      BBG pays Chesapeake Enterprises $20,000 for 1/2/08 and 2/1/08 invoices          March 6, 2008        BBG 001765


 329      Chesapeake Enterprises Invoice to BBG for $10,000 for April 2008 Consulting ‐   April 1, 2008        BBG 001769
          Stanford Financial
 330      Chesapeake Enterprises Invoice to BBG for $10,000 for May 2008 Consulting ‐     May 1, 2008          BBG 001769
          Stanford Financial
 331      Chesapeake Enterprises Invoices BBG for $10,000 for June 2008 Consulting ‐      June 2, 2008         BBG 001771
          Stanford Financial
 332      BBG check to Chesapeake Enterprises $10,000 for 12/1/07 invoice                 June 3, 2008         BBG 004943

 333      Chesapeake Enterprises Invoice to BBG for $10,000 for July 2008 Consulting ‐   July 1, 2008          BBG 001772
          Stanford Financial
 334      Robert Van Order invoice to BBG for $10,000 for preparation of America's Third November 27, 2005     BBG 004957
          Border
 335      BBG check to Robert Van Order for $10,000                                      December 21, 2005     BBG 004956

 336      Beth Preiss invoice to BBG for $10,000 for consulting services provided in      December 5, 2005     BBG 004897
          preparation of America's Third Border
 337      BBG check to Beth Preiss for $10,000                                            December 21, 2005    BBG 004898

 338      BBG check to Mitch Delk for $25,000                                             April 25, 2007       BBG 04948

 339      BBG check to Delk for $50,000 for July 2007 and catchup                         July 13, 2007        BBG 004949

 340      BBG check to Delk for $25,000                                                   August 10, 2007      BBG 004950

 341      BBG check to Delk for $25,000 for September 2007                                September 18, 2007   BBG 004951

 342      BBG check to Delk for $25,000 for October 2007                                  October 23, 2007     BBG 004952

 343      BBG check to Delk for $25,000 for November. 2007                                December 6, 2007     BBG 004953

 344      BBG check to Delk for $25,000 for December 2007                                 January 9, 2008      BBG 001775

 345      BBG check to Delk for $50,000 for January 2008 and February 2008                March 11, 2008       BBG 01775

 346      BBG check to Delk for $40,000 for March 2008 and April 2008                     May 5, 2008          BBG 001776

 347      BBG check to Delk for $60,000 for May 2008 and June 2008 make‐up payment        June 3, 2008         BBG 001776
          from March and April 2008
 348      BBG check to Delk for $25,000 for July 2008                                     July 10, 2008        BBG 001777

 349      BBG check to Delk for $25,000 for August 2008                                   August 28, 2008      BBG 001777
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Exhibit                            Document Description                                     Date                 Bates Number      Offer   Obj   Date
  #                                                                                                                                              Admit
 350      BBG check to Delk for $50,00 for September and October 2008                       October 27, 2008     BBG 001778

 351      BBG check to Delk for $25,000 for November 2008                                   November 18, 2008    BBG 001778

 352      BBG check to Delk for $25,000 for December 2008                                   January 12, 2009     BBG 001779

 353      BBG check to Delk for $25,000 for January 2008                                    February 20, 2009    BBG 001779

 354      Capital Counsel Invoice to BBG for $20,000 for professional services for July 2007 June 28, 2007       CC 1 Barnes


 355      BBG check to Capital Counsel for $20,000 for July invoice                         July 13, 2007        BBG 004901

 356      Capital Counsel Invoice to BBG for $20,000 for Professional Services for August   July 27, 2007        CC 2 Barnes
          2007
 357      BBG check Capital Counsel $20,000 for August invoice                              August 10, 2007      BBG 004903

 358      Capital Counsel Invoice to BBG for $20,000 for Professional Services for          August 31, 2007      CC 3 Barnes
          September 2007
 359      BBG check to Capital Counsel for $20,000 for September invoice                    September 18, 2007   BBG 004905

 360      Capital Counsel Invoice to BBG for $20,000 for Professional Services for October October 1, 2007       CC 4 Barnes
          2007
 361      BBG check to Capital Counsel for $20,000 for October invoice                     October 23, 2007      BBG 004907

 362      Capital Counsel Invoice to BBG for $20,000 for Professional Services for        November 1, 2007       CC 5 Barnes
          November 2007
 363      Capital Counsel Invoices BBG for $20,000 for Professional Services for December December 1, 2007       CC 6 Barnes
          2007
 364      BBG check to Capital Counsel for $20,000 for November invoice                   December 6, 2007       BBG 00409

 365      Capital Counsel Invoice to BBG for $20,000 for Professional Services for January January 1, 2008       CC 7 Barnes
          2008
 366      BBG check to Capital Counsel for $20,000 for December 2007 Invoice               January 9, 2008       BBG 001715


 367      Capital Counsel Invoice to BBG for $20,029 for Professional Services for February February 1, 2008     CC 8 Barnes
          2008 and Taxi charges
 368      Capital Counsel Invoice to BBG for $20,000 for Professional Services for March March 1, 2008           CC 9 Barnes
          2008
 369      BBG check to Capital Counsel $40,029 for January and February 2008 Invoices March 6, 2008              BBG 001717


 370      Capital Counsel Invoice to BBG for $20,000 for Professional Services for April    April 1, 2008        CC 10 Barnes
          2008
 371      Capital Counsel Invoice to BBG for $20,000 for Professional Services for May      May 1, 2008          CC 11 Barnes
          2008
 372      BBG check to Capital Counsel for $40,000 for March and April 2008 Invoices        May 5, 2008          BBG 001720


 373      Capital Counsel Invoice to BBG for $20,000 for Professional Services for June     June 2, 2008         CC 12 Barnes
          2008
 374      BBG check to Capital Counsel for $40,000 for May and June 2008 Invoices           June 3, 2008         BBG 001722

 375      Capital Counsel Invoice to BBG for $20,000 for Professional Services for July     July 1, 2008         CC 13 Barnes
          2008
 376      BBG check to Capital Counsel for $20,000 for July Invoice                         July 10, 2008        BBG 001726

 377      Capital Counsel Invoice to BBG for $20,000 for Professional Services for August   August 1, 2008       CC 14 Barnes
          2008
 378      BBG check to Capital Counsel for $20,000 for August Invoice                       August 28, 2008      CC 15 Barnes

 379      Capital Counsel Invoice to BBG for $20,000 for Professional Services for         September 1, 2008     CC 16 Barnes
          September 2008
 380      Capital Counsel Invoice to BBG for $20,000 for Professional Services for October October 1, 2008       CC 17 Barnes
          2008
 381      BBG check to Capital Counsel for $40,000 for September and October Invoices October 27, 2008           CC 18 Barnes


 382      Capital Counsel Invoices BBG for $20,000 for Professional Services for November November 1, 2008       CC 19 Barnes
          2008
 383      BBG check to Capital Counsel for $20,000 for November Invoice                   November 18, 2008      CC 20 Barnes

 384      Capital Counsel Invoices BBG $20,000 for Professional Services for December       December 1. 2008     CC 21 Barnes
          2008
 385      Capital Counsel Invoices BBG for $20,000 for Professional Services for January    January 1, 2009      CC 23 Barnes
          2009
 386      BBG check to Capital Counsel for $20,000 for December Invoice                     January 12, 2009     CC 22 Barnes

 387      Capital Counsel invoices BBG for $20,000 for Professional Services for February   February 1, 2009     BBG 001739
          2009
 388      BBG check to Capital Counsel for $20,000 for January Invoice                      April 17, 2009       CC 24 Barnes

 389      Cauthen Forbes & Williams invoice to BBG for August 2007 Consulting Fee ‐         August 1, 2007       BBG 004914
          Stanford Financial
 390      BBG check to Cauthen Forbes and Williams for $10,000 for August Invoice           August 28, 2007      BBG 004913


 391      Cauthen Forbes & Williams invoice to BBG for $20,000 ($10K for September and September 1, 2007         BBG 004916
          late August)
 392      BBG check to Cauthen Forbes and Williams for $10,000 for September Invoice September 18, 2007          BBG 004915


 393      Cauthen Forbes & Williams invoice to BBG for $10,000 for October                  October 1, 2007      BBG 004918
   Case 3:10-cv-00527-N-BQ Document 117 Filed 03/02/15                                                                  Page 13 of 14 PageID 2094


Exhibit                           Document Description                                     Date                Bates Number       Offer   Obj   Date
  #                                                                                                                                             Admit
 394      BBG check to Cauthen Forbes and Williams for $10,000 for October Invoice         October 23, 2007    BBG 004917


 395      Cauthen Forbes Williams invoice to BBG for $20,000 ($10K for November and        November 1, 2007    BBG 004919
          late October)
 396      Cauthen Forbes & Williams Invoice to BBG for $20,000 ($10,000 for December       December 1, 2007    BBG 001744
          and past due November)
 397      BBG Check to Cauthen Forbes & Williams for $10,000 for November invoice          January 4, 2008     BBG 001742


 398      BBG check to Cauthen Forbes & Williams for $10,000 for December invoice          January 9, 2008     BBG 001743


 399      Cauthen Forbes & Williams Invoice to BBG for $20,000 ($10,000 for February    February 1, 2008       BBG 001746
          and past due January)
 400      BBG check to Cauthen Forbes and Williams for $20,000 for January and February March 6, 2008          BBG 001745
          Invoices
 401      Cauthen Forbes & Williams Invoice to BBG for $20,000 ($10,000 for April and   April 1, 2008          BBG 001748
          past due March)
 402      Cauthen Forbes & Williams Invoice to BBG for $30,000 ($10,000 for May and     May 1, 2008            Forbes 13 Barnes
          past due April and March)
 403      BBG check to Cauthen Forbes and Williams for $20,000 for March and April 2008 May 5, 2008            BBG 001747
          Invoices
 404      Cauthen Forbes & Williams Invoice to BBG for $20,000 ($10,000 for June and    June 1, 2008           BBG 001750
          past due May)
 405      BBG Check to Cauthen Forbes and Williams for May and June 2008 Invoices       June 3, 2008           BBG 001749


 406      Cauthen Forbes & Williams Invoice to BBG for $10,000 for July 2008               July 1, 2008        BBG 001752


 407      BBG check to Cauthen Forbes and Williams for $10,000 for July Invoice            July 10, 2008       BBG 001751


 408      Cauthen Forbes & Williams Invoice to BBG for $10,000 for August 2008             August 1, 2008      BBG 001754


 409      BBG check to Cauthen Forbes and Williams for $10,000 for August Invoice          August 28, 2008     BBG 001753


 410      Cauthen Forbes & Williams Invoices BBG for $20,000 ($10,000 for September     September 1, 2008      Forbes 17 Barnes
          and past due August)
 411      Cauthen Forbes & Williams Invoice to BBG for $20,000 ($10,000 for October and October 1, 2008        BBG 001756
          past due September)
 412      BBG check to Cauthen Forbes and Williams for $20,000 for September and        October 27, 2008       BBG 001755
          October Invoices
 413      Cauthen Forbes & Williams Invoice to BBG for $10,000 for November 2008        November 1, 2008       BBG 001758


 414      BBG check to Cauthen Forbes and Williams for $10,000 for November Invoice        November 18, 2008   BBG 001757


 415      Cauthen Forbes & Williams Invoice to BBG for $10,000 for December 2008           December 1, 2008    BBG 001760


 416      Cauthen Forbes & Williams Invoices BBG for $20,000 ($10,000 for January and      January 1, 2009     Forbes 21 Barnes
          past due December)
 417      BBG check to Cauthen Forbes and Williams $10,000 for December 2008 Invoice       January 12, 2009    BBG 001759


 418      Cauthen Forbes & Williams Invoices BBG for $20,000 ($10,000 for February and     February 1, 2009    Forbes 22 Barnes
          past due January)
 419      Cauthen Forbes & Williams Invoices BBG for $30,000 ($10,000 for March and        March 2, 2009       Forbes 23 Barnes
          past due January and February)
 420      Cauthen Forbes & Williams Invoices BBG for $40,000 ($10,000 for April and past   April 1, 2009       Forbes 24 Barnes
          due March, February, January)
 421      BBG pays Cauthen Forbes and Williams $10,000 for January 2009 Invoice            April 17, 2009      Forbes 11 Barnes
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                                                 Respectfully submitted,

                                                 WINSTEAD PC

                                                 By:     /s/ Jay Madrid

                                                 Jay J. Madrid
                                                 State Bar No. 12802000
                                                 Kristen L. Sherwin
                                                 State Bar No. 24043918
                                                 Stephen R. Clarke
                                                 State Bar No. 24069517
                                                 500 Winstead Building
                                                 2728 N. Harwood Street
                                                 Dallas, Texas 75201
                                                 (214) 745-5618 (phone)
                                                 (214) 745-5390 (fax)
                                                 jmadrid@winstead.com
                                                 ksherwin@winstead.com
                                                 sclarke@winstead.com

                                                 ATTORNEYS FOR DEFENDANTS




                                 CERTIFICATE OF SERVICE

         I hereby certify that on March 2, 2015, I electronically filed the foregoing document with
 the Clerk of the Court for the Northern District of Texas, Dallas Division, by using the CM/ECF
 system which will send notification of such filing to all CM/ECF participants and counsel of
 record.


                                                  /s/ Jay Madrid
                                              Jay J. Madrid
